Case 2:21-cv-09882-JWH-AS Document 53 Filed 08/04/22 Page 1 of 6 Page ID #:727




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  7
  8
                              UNITED STATES DISTRICT COURT
  9
                          CENTRAL DISTRICT OF CALIFORNIA
 10
    THERABODY, INC., a Delaware                   Case No.: 2:21-cv-09882-JWH-AS
 11 corporation,
 12              Plaintiff,                       JOINT NOTICE OF SETTLEMENT
                                                  OF ENTIRE ACTION
 13        v.
                                                  Pending Deadlines:
 14 HOMEDICS USA, LLC; FKA
    DISTRIBUTING CO., LLC d/b/a                   Filing of Joint Rule 26(f) Report:
 15 HOMEDICS, LLC and DOES 1                      August 5, 2022
    through 10, inclusive,
 16                                               Scheduling Conference:
                 Defendants.                      Date; August 19, 2022
 17                                               Time: 11:00 a.m.
                                                  Ctrm: 9D
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                                              1                   Case No. 2:21-cv-09882-JWH-AS
                                    NOTICE OF SETTLEMENT
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  1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
  2 RECORD:
  3         PLEASE TAKE NOTICE that pursuant to Local Rule 40-2, Plaintiff
  4 Therabody, Inc. (“Therabody” or “Plaintiff”) and Defendants HoMedics USA, LLC
  5 and FKA Distributing Co., LLC d/b/a HoMedics LLC (collectively “HoMedics” or
  6 “Defendants”) have agreed to a settlement of this matter which will dispose of all
  7 claims and issues raised in Plaintiff’s Complaint. The parties need additional time to
  8 document and perform under the settlement. The parties anticipate completing the
  9 terms of the settlement within 60 days. Once the terms of the settlement agreement
 10 are performed, the parties will file a stipulation of dismissal disposing of the entire
 11 case.
 12         Therefore the parties respectfully request that all pending deadlines and all
 13 other scheduled dates, including the Scheduling Conference set for August 19, 2022,
 14 be taken off calendar while the parties formalize the settlement agreement and
 15 performance thereof.
 16         The parties further agree that the Court shall retain jurisdiction to enforce the
 17 terms of the settlement agreement if necessary.
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                                                2                  Case No. 2:21-cv-09882-JWH-AS
                                      NOTICE OF SETTLEMENT
Case 2:21-cv-09882-JWH-AS Document 53 Filed 08/04/22 Page 3 of 6 Page ID #:729




  1 DATED: August 4, 2022              PARKER IBRAHIM & BERG LLP
  2
  3                                    By:         /s/ Bryant S. Delgadillo
  4                                          BRYANT S. DELGADILLO
                                             MATTHEW HENDERSON
  5                                          Attorneys for Plaintiff Therabody, Inc.
  6
  7
  8 DATED: August 4, 2022              BROOKS KUSHMAN P.C.

  9
 10
                                       By:         /s/ Mark A. Cantor
 11                                          MARK A. CANTOR
 12                                          REBECCA J. CANTOR
                                             MARC LORELLI
 13                                          WILLIAM E. THOMPSON
                                             Attorneys for Defendants HoMedics, LLC
 14                                          FKA Distributing Co., LLC d/b/a HoMedics
                                             LLC
 15
 16
 17
                                        CERTIFICATION
 18
             I, Bryant S. Delgadillo, hereby attest that all other signatories listed, and on
 19
      whose behalf the filing is submitted, concur in the filing's content and have authorized
 20
      the filing.
 21
 22
                                               /s/ Bryant S. Delgadillo
 23                                            BRYANT S. DELGADILLO
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                                                  3                  Case No. 2:21-cv-09882-JWH-AS
                                      NOTICE OF SETTLEMENT
Case 2:21-cv-09882-JWH-AS Document 53 Filed 08/04/22 Page 4 of 6 Page ID #:730



 1                                        PROOF OF SERVICE
 2                       STATE OF CALIFORNIA, COUNTY OF ORANGE
 3                            Therabody, Inc. v. HoMedics USA, LLC et al.
 4                          USDC, Central Case No.: 2:21-cv-09882-JWH-AS
 5 I am employed in the County of Orange, State of California. I am over the age of 18
   years and not a party to the within action. My business address is Parker Ibrahim &
 6 Berg LLP, 695 Town Center Drive, 16th Floor, Costa Mesa, CA 92626.
 7        On August 4, 2022, I served the foregoing document described JOINT
 8 NOTICE OF SETTLEMENT OF ENTIRE ACTION on the interested parties in
   this action.
 9
         by placing the original and/or a true copy thereof enclosed in (a) sealed
10        envelope(s), addressed as follows:
11             BY REGULAR MAIL: I deposited such envelope in the mail at 695 Town
                Center Drive, 16th Floor, Costa Mesa, CA 92626. The envelope was mailed
12              with postage thereon fully prepaid.
13              I am “readily familiar” with the firm’s practice of collection and processing
                correspondence for mailing. It is deposited with the U.S. Postal Service on that
14              same day in the ordinary course of business. I am aware that on motion of the
                party served, service is presumed invalid if postal cancellation date or postage
15              meter date is more than one (1) day after date of deposit for mailing in affidavit.
                BY THE ACT OF FILING OR SERVICE, THAT THE DOCUMENT
16              WAS PRODUCED ON PAPER PURCHASED AS RECYCLED
17             BY OVERNIGHT MAIL: I deposited such documents at the Federal Express
                Drop Box located at 695 Town Center Drive, 16th Floor, Costa Mesa, CA 92626.
18              The envelope was deposited with delivery fees thereon fully prepaid.
19             BY ELECTRONIC MAIL: I served the foregoing document by electronic
                mail to the email address(es) listed on the service list.
20
               BY PERSONAL SERVICE: I caused such envelope(s) to be delivered by
21              hand to the above addressee(s).
22
               (Federal) I declare that I am employed in the office of a member of the Bar of
23              this Court, at whose direction the service was made.
24              Executed on August 4, 2022, at Costa Mesa, California.
25                                                          /s/ Marian Flores
                                                            Marian Flores
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27
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     45049501
                                             PROOF OF SERVICE
Case 2:21-cv-09882-JWH-AS Document 53 Filed 08/04/22 Page 5 of 6 Page ID #:731



 1                                  SERVICE LIST
 2
                      Therabody, Inc. v. HoMedics USA, LLC et al.
 3                  USDC, Central Case No.: 2:21-cv-09882-JWH-AS
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                                    PROOF OF SERVICE
Case 2:21-cv-09882-JWH-AS Document 53 Filed 08/04/22 Page 6 of 6 Page ID #:732



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                                    PROOF OF SERVICE
